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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Star Mountain Express, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA MEX Advantage Fleet Services, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3650 Mansell Road
                                  Suite 250
                                  Alpharetta, GA 30022
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       None


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Star Mountain Express, LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                4571

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




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Debtor    Star Mountain Express, LLC                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Rider 1                                                  Relationship               Affiliate
                                                                Southern District of
                                                                Texas, Huston
                                                    District    Division                    When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

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Debtor   Star Mountain Express, LLC                                                      Case number (if known)
         Name




16. Estimated liabilities        $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                                 $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Star Mountain Express, LLC                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 18, 2023
                                                  MM / DD / YYYY


                             X   /s/ Michael Healy                                                        Michael Healy
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X   /s/ Michael D. Warner                                                     Date March 18, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael D. Warner
                                 Printed name

                                 Pachulski Stang Ziehl & Jones LLP
                                 Firm name

                                 440 Louisiana Street
                                 Suite 900
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     714-384-4740                  Email address      mwarner@pszjlaw.com

                                 00792304 TX
                                 Bar number and State




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                                  WRITTEN CONSENT OF
                                  MEX North Alabama, LLC
                               Mississippi MEX Company, LLC
                             Mountain Express Ethanol Company
                        Mountain Express Oil Company Southeast, LLC
                               Spartan Tank Management LLC
                                 Star Mountain Express, LLC
                             Texas MEX Limited Company, LLC
                                Consolidated HR Services LLC
                                     B&T Petroleum LLC
                              Alabama Terminal Property, LLC
                                       WHRG-LA, LLC
                                      WHRG-LA2, LLC
                    Madison Auto Truck Plaza And Lucky Dollar Casino, LLC

       The undersigned being the Manager of each and every one of the entities as listed below
(each a “Company” and, collectively, the “Companies”) does hereby consent to and take the
following action to be effective as of March 18, 2023 and consent to the Company actions
contemplated thereby:

             WHEREAS, the Manager has considered the financial and operational aspects of
the Companies’ business;

                 WHEREAS, the Manager has reviewed the historical performance of the
Company, the market for the Companies’ products and services, and the current and long-term
liabilities of the Companies;

                WHEREAS, the Manager has, over the last several months, reviewed the materials
presented to it by the management of and the advisors to the Companies regarding the possible
need to undertake a financial and operational restructuring of the Companies;

                WHEREAS, the Manager has analyzed each of the financial and strategic
alternatives available to it, including those available on a consensual basis with the principal
stakeholders of the Companies, and the impact of the foregoing on the Companies’ business and
its stakeholders;

                 NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Manager,
it is desirable and in the best interests of the Companies, its creditors, employees, stockholders and
other interested parties that a petition be filed by each Company seeking relief under the provisions
of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”);

               RESOLVED FURTHER, that the officers of the Companies (each, an
“Authorized Officer”) be, and each of them hereby is, authorized on behalf of each Company to
execute, verify and file all petitions, schedules, lists, and other papers or documents, and to take
and perform any and all further actions and steps that any such Authorized Officer deems




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necessary, desirable and proper in connection with the Company’s chapter 11 case, with a view to
the successful prosecution of such case;

                RESOLVED FURTHER, that the Authorized Officers, on behalf of each
Company, are authorized, empowered and directed to retain the law firm of Pachulski Stang Ziehl
& Jones LLP (“PSZ&J”) as bankruptcy counsel to represent and assist the Companies in carrying
out its duties under chapter 11 of the Bankruptcy Code, and to take any and all actions to advance
each Company’s rights in connection therewith, and the Authorized Officers are hereby authorized
and directed to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the bankruptcy, and to cause to be filed an appropriate application
for authority to retain the services of PSZ&J;

                RESOLVED FURTHER, that the Authorized Officers, on behalf of each
Company, are authorized, empowered and directed to retain the services of FTI Consulting, Inc.
(“FTI Consulting”) as the Companies’ financial advisor, effective as of the date the petition is
filed, and in connection therewith, the Authorized Officers are hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately upon
the filing of the bankruptcy, and to cause to be filed an appropriate application for authority to
retain the services of FTI Consulting;

                RESOLVED FURTHER, that Michael Healy of FTI Consulting has been
appointed, effective as of March 18, 2023, to serve as Chief Restructuring Officer of each of the
Companies, shall be an Authorized Officer (as defined in these resolutions), and is hereby
authorized to make decisions with respect to all aspects of the management and operation of each
Company’s business including, without limitation, organization, human resources, marketing,
sales, logistics, finance, administration, oversight, of the prosecution of each Company’s
bankruptcy case, including, but not limited to, bankruptcy-related reporting requirements, filing of
Statement of Financial Affairs, Schedule of Assets and Liabilities, a chapter 11 plan and related
disclosure statement, claims management, managing outside professionals and such other aspects
as he may identify, in such manner as he deems necessary or appropriate in his sole and reasonable
discretion consistent with the business judgment rule, subject only to appropriate governance by
the applicable Board, in accordance with each Company’s certificate of incorporation, certificate
of formation, bylaws, limited liability company agreement, applicable laws and applicable
bankruptcy law and order of the Court;

                RESOLVED FURTHER, that the Authorized Officers be, and each of them
hereby is, authorized, empowered and directed on behalf of the Companies to retain the services
of Raymond James Financial, Inc. (“Raymond James”) as the Companies’ investment banker
and, in connection therewith, to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the bankruptcy, and to cause to be filed an
appropriate application for authority to retain the services of Raymond James;

               RESOLVED FURTHER, that the Authorized Officers, on behalf of each
Company, are authorized, empowered and directed to retain the services of Kurtzman Carson
Consultants LLC (“KCC”) as the Company’s claims, noticing, solicitation agent and
administrative advisor, effective as of the date the petition is filed, and in connection therewith,
the Authorized Officers are hereby authorized and directed to execute appropriate retention

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agreements, pay appropriate retainers prior to and immediately upon the filing of the bankruptcy,
and to cause to be filed an appropriate application for authority to retain the services of KCC;

               RESOLVED FURTHER, that the Authorized Officers of each Company be, and
hereby are, authorized and directed to employ any other professionals necessary to assist such
Company in carrying out its duties under the Bankruptcy Code; and in connection therewith, the
officers of the Company are hereby authorized and directed to execute appropriate retention
agreements, pay appropriate retainers prior to or immediately upon the filing of the chapter 11 case
and cause to be filed appropriate applications with the Bankruptcy Court for authority to retain the
services of any other professionals, as necessary, and on such terms as are deemed necessary,
desirable and proper;

                RESOLVED FURTHER, that the Authorized Officers of each Company be, and
each of them hereby is, authorized and empowered to obtain post-petition financing according to
terms which may be negotiated by the management of the Company, including under debtor-in-
possession credit facilities or the use of cash collateral; and to enter into any guaranties and to
pledge and grant liens on its assets as may be contemplated by or required under the terms of such
post-petition financing or cash collateral agreement; and in connection therewith, the Authorized
Officers of each Company are hereby authorized and directed to execute appropriate loan
agreements, cash collateral agreements and related ancillary documents;

                RESOLVED FURTHER, that the Authorized Officers be, and each of them
hereby is, authorized, empowered and directed on behalf of the Companies to take any and all
actions, to execute, deliver, certify, file and/or record and perform any and all documents,
agreements, instruments, motions, affidavits, applications for approvals or rulings of governmental
or regulatory authorities or certificates and to take any and all actions and steps deemed by any
such Authorized Officer to be necessary or desirable to carry out the purpose and intent of each of
the foregoing resolutions and to effectuate a successful chapter 11 case, including, but not limited
to the development, filing and prosecution to confirmation of a chapter 11 plan and related
disclosure statement; and

                 RESOLVED FURTHER, that any and all actions heretofore taken by any
Authorized Officer or the directors of each Company in the name and on behalf of the Company
in furtherance of the purpose and intent of any or all of the foregoing resolutions be, and hereby
are, ratified, confirmed, and approved in all respects.




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        IN WITNESS WHEREOF, the undersigned, Manager of the Company and its subsidiary
entities as listed below has hereunto set his hand.

MEX North Alabama, LLC
Spartan Tank Management LLC
Alabama Terminal Property, LLC
Mountain Express Ethanol Company
Mountain Express Oil Company Southeast, LLC,
each a Georgia limited liability company

Mississippi MEX Company, LLC,
a Mississippi limited liability company

Star Mountain Express, LLC
Texas MEX Limited Company, LLC,
each a Texas limited liability company

Consolidated HR Services LLC,
a Wyoming limited liability company

B&T Petroleum LLC
a Nevada limited liability company

WHRG-LA, LLC
WHRG-LA2, LLC,
each a Louisiana limited liability company



By: _________________________
    Lamar Frady, Manager

Madison Auto Truck Plaza And Lucky Dollar Casino, LLC,
a Louisiana limited liability company

By: WHRG-LA2, LLC,
    a Louisiana limited liability company, its sole member



     By: _________________________
       Lamar Frady, Manager




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                                        Rider 1 to Voluntary Petition

      On the date hereof, each of the affiliated entities listed below, including the debtor in this chapter
      11 case (collectively, the “Debtors”), filed a petition in this Court for relief under chapter 11 of
      title 11 of the United States Code.

1.      1200 Wego LLC                                            41.     MEX Fuels NE LLC
2.      1227 Veterans, LLC                                       42.     MEX Fuels NE-IL LLC
3.      1308 Jefferson Davis LLC                                 43.     MEX Fuels NE-IN LLC
4.      13289 Old Hammond Highway LLC                            44.     MEX Fuels NE-KY LLC
5.      1600 Manhattan Blvd, LLC                                 45.     MEX Fuels NE-NJ LLC
6.      2601 Gen. Degaulle LLC                                   46.     MEX Fuels NE-NY LLC
7.      2698 Barataria Blvd LLC                                  47.     MEX Fuels NE-OH LLC
8.      2701 Canal Street LLC                                    48.     MEX Fuels NW LLC
9.      2850 Belle Chasse Hgwy LLC                               49.     MEX Fuels NW-IA LLC
10.     300 Lee Drive LLC                                        50.     MEX Fuels NW-MO LLC
11.     3049 Loyola Drive LLC                                    51.     MEX Fuels SE LLC
12.     4115 Airline Hgwy., LLC                                  52.     MEX Fuels SE-GA LLC
13.     4408 S. I-10 Service Road LLC                            53.     MEX Fuels SE-MS LLC
14.     4520 Jefferson Highway LLC                               54.     MEX Fuels SE-TN LLC
15.     4662 GDD LLC                                             55.     MEX Fuels SW LLC
16.     4915 Westbank Expwy LLC                                  56.     MEX Fuels SW-LA LLC
17.     4940 Groom Road, L.L.C.                                  57.     MEX Fuels SW-OK LLC
18.     5310 Flannery Road, LLC                                  58.     MEX North Alabama, LLC
19.     798 Jean Lafitte, L.L.C.                                 59.     MEX RE Holdings LLC
20.     8692 River Road, LLC                                     60.     MEX RE-NE LLC
21.     9410 Greenwell Springs, LLC                              61.     MEX RE-NE-IN LLC
22.     Alabama Terminal Property, LLC                           62.     MEX RE-NE-NJ LLC
23.     Avondale Brothers No 128 LLC                             63.     MEX RE-NE-NY LLC
24.     Avondale Investments, L.L.C.                             64.     MEX RE-NE-NY-LI LLC
25.     B&T Petroleum LLC                                        65.     MEX RE-NE-OH LLC
26.     Brothers Belle Chasse, L.L.C.                            66.     MEX RE-NE-PA LLC
27.     Brothers Carol Sue, LLC                                  67.     MEX RE-NW LLC
28.     Brothers Expressway, Inc.                                68.     MEX RE-NW-IA LLC
29.     Brothers I-10 Service Road, Inc.                         69.     MEX RE-NW-KS LLC
30.     Brothers Petroleum, L.L.C.                               70.     MEX RE-NW-MN LLC
31.     Brothers Stonebridge, Inc.                               71.     MEX RE-NW-MO LLC
32.     Brothers Terry Parkway, Inc.                             72.     MEX RE-NW-ND LLC
33.     Consolidated HR Services LLC                             73.     MEX RE-NW-WI LLC
34.     Crowder Brothers, LLC                                    74.     MEX RE-SE LLC
35.     Exxon General Degaulle, LLC                              75.     MEX RE-SE-AL LLC
36.     Gause Operation, L.L.C.                                  76.     MEX RE-SE-FL LLC
37.     Jamie Boulevard, LLC                                     77.     MEX RE-SE-GA LLC
38.     Lapalco Brothers No. 125, LLC                            78.     MEX RE-SE-MS LLC
39.     Madison Auto Truck Plaza And Lucky Dollar                79.     MEX RE-SE-NC LLC
        Casino, LLC                                              80.     MEX RE-SE-SC LLC
40.     MEX Fuels LLC                                            81.     MEX RE-SE-TN LLC


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82.     MEX RE-SW LLC                                 128.   WHRGOPS NW-MO-NMO LLC
83.     MEX RE-SW-AR LLC                              129.   WHRGOPS NW-WI LLC
84.     MEX RE-SW-LA LLC                              130.   WHRGOPS NW-WI-NWI LLC
85.     MEX RE-SW-OK LLC                              131.   WHRGOPS SE LLC
86.     MEX RE-SW-TX LLC                              132.   WHRGOPS SE-AL-NORTH LLC
87.     Mississippi MEX Company, LLC                  133.   WHRGOPS SE-MS LLC
88.     Mountain Express Baking and Coffee Co.        134.   WHRGOPS SE-MS-JACKSON LLC
89.     Mountain Express Ethanol Company              135.   WHRGOPS SE-SC LLC
90.     Mountain Express Oil Company                  136.   WHRGOPS SE-TN LLC
91.     Mountain Express Oil Company Southeast, LLC   137.   WHRGOPS SE-TN-WTN LLC
92.     Newton Brothers, Inc.                         138.   WHRGOPS SW LLC
93.     South Claiborne Operation LLC                 139.   WHRGOPS SW-AR LLC
94.     Spartan Tank Management LLC                   140.   WHRGOPS SW-AR-NWAR LLC
95.     Star Mountain Express, LLC                    141.   WHRGOPS SW-OK LLC
96.     Texas MEX Limited Company, LLC                142.   WHRGOPS SW-OK-OKC LLC
97.     Webster P II L.L.C.                           143.   WHRGOPS SW-TX LLC
98.     WebsterP L.L.C.                               144.   WHRGOPS SW-TX-DALLAS LLC
99.     West Hill Ranch Group LLC                     145.   WHRGOPS SW-TX-STX LLC
100.    WHRG Retail Ops LLC
101.    WHRG TC LLC
102.    WHRG TC-NE LLC
103.    WHRG TC-NE-PA LLC
104.    WHRG TC-NW LLC
105.    WHRG TC-NW-IA LLC
106.    WHRG TC-NW-KS LLC
107.    WHRG TC-NW-MO LLC
108.    WHRG TC-NW-ND LLC
109.    WHRG TC-NW-WY LLC
110.    WHRG TC-SE LLC
111.    WHRG TC-SE-AL LLC
112.    WHRG TC-SE-SC LLC
113.    WHRG TC-SW LLC
114.    WHRG TC-SW-AR LLC
115.    WHRG TC-SW-LA LLC
116.    WHRG-LA, LLC
117.    WHRG-LA2, LLC
118.    WHRGOPS NE LLC
119.    WHRGOPS NE-NY LLC
120.    WHRGOPS NE-NY-LI LLC
121.    WHRGOPS NE-PA LLC
122.    WHRGOPS NW LLC
123.    WHRGOPS NW-IA LLC
124.    WHRGOPS NW-IA-WIA LLC
125.    WHRGOPS NW-KS LLC
126.    WHRGOPS NW-MI LLC
127.    WHRGOPS NW-MO LLC


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     Fill in this information to identify the case:

     Debtor name    Star Mountain Express, LLC
     United States Bankruptcy Court for the Southern District of Texas
                                                                  (State)
                                                                                                                                                 Check if this is an
     Case number (If known):
                                                                                                                                                 amended filing




   Official Form 204
   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest
   Unsecured Claims and Are Not Insiders (on a Consolidated Basis)                                                                                             12/15

   A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
   disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
   creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest
   unsecured claims.


   Name of creditor and complete                 Name, telephone number,     Nature of the claim   Indicate if claim   Amount of unsecured claim
   mailing address, including zip code           and email address of       (for example, trade    is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                 creditor contact           debts, bank loans,     unliquidated, or    claim amount. If claim is partially secured, fill in total
                                                                            professional           disputed            claim amount and deduction for value of collateral or
                                                                            services, and                              setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                       Total claim, if    Deduction for        Unsecured claim
                                                                                                                       partially          value of
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1. Sunoco                                   T. Garvin               Fuel Supply                                                                                $1,678,800.73
   3801 West Chester Pike                   Tel: 215-977-3000; 610-
   Newton Square, PA 19073                  355-1840
                                            Fax: 215-977-3409
                                            Email:
                                            TTGARVIN@sunocoinc.com
2. Valero                                   Accounts Payable        Fuel Supply                                                                                $1,667,621.89
   ONE VALERO WAY                           Tel: 210-345-2000;
   SAN ANTONIO, TX 78249                    361-289-3236
                                            Fax: 210-370-3236
                                            Email:
                                            valeromedia@valero.com
3. COCA-COLA Bottling CO                    Pamela Hume             Food & Beverage                                                                            $1,109,711.55
   PO Box 105637                            Tel: 318-584-907-
   Atlanta, GA 30348-5637                   Fax: 770-558-2530
                                            Email:
                                            pamelahume@ccbcu.com
4. Marathon                                 Accounts Payable        Fuel Supply                                                                                  $881,915.98
   539 S. Main Street                       Tel: 419-422-2121
   Findlay, OH 45840                        Fax: 419-421-2410

5. Cross Oil Refining & Marketing Accounts Payable                          Fuel Supply                                                                          $774,052.19
   484 East 6th St                Tel: (800) 343-6361
   Smackover, AR 71762            Fax: 870-864-8656

6. KeyBank Real Estate Capital              Gina Sullivan            Real Estate /   CUD                                                                         $667,587.67
   P. O. Box 145404                         Email:                   Equipment Lease
   Cincinnati, OH 45250                     Gina_Sullivan@keybank.co
                                            m
                           Case 23-90146 Document 1 Filed in TXSB on 03/18/23 Page 13 of 20
    Debtor        Star Mountain Express, LLC                                                  Case number (if known)
                  Name




   Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if claim   Amount of unsecured claim
   mailing address, including zip code     and email address of        (for example, trade    is contingent,      If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     unliquidated, or    claim amount. If claim is partially secured, fill in total
                                                                       professional           disputed            claim amount and deduction for value of collateral or
                                                                       services, and                              setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                                  Total claim, if    Deduction for        Unsecured claim
                                                                                                                  partially          value of
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
7. Exxon Mobil                           Accounts Payable             Fuel Supply                                                                           $572,839.84
   P.O Box 74007276                      Tel: 972-940-6000
   Chicago, IL 60674-7276
8. VM Petro Inc                          Accounts Payable             Fuel Supply                                                                           $559,807.86
   2188 Kirby Lane                       Tel: 516-921-7190
   Syosset, NY 11791
9. PEPSI BEVERAGES                       Kenneth Billson            Food & Beverage                                                                         $550,054.36
   75 REMITANCE DRIVE SUITE              Tel: 870-688-2790
   1884                                  Fax: 913-791-3046
   CHICAGO, IL 60675                     Email:
                                         kenneth.billson@pepsico.c
                                         om
10.Flying J-Saratoga-Pilot               Accounts Payable           Fuel Supply                                                                             $516,916.95
   5508 Lonas Drive                      Tel: 865-588-7488
   Knoxville, TN 37909                   Fax: 865-450-2801;
                                         865-297-1812
                                         Email:
                                         media.relations@pilotflyin
                                         gj.com
11.Shell                                 Accounts Payable           Fuel Supply                                                                             $499,471.44
   910 Louisana St.                      Tel: 888-467-4355
   Houston, TX 77002                     Fax: 713-241-2124
                                         Email: HOU-OSP-
                                         Chemicals-CRC-
                                         Americas@shell.com;
                                         consumerorders-
                                         us@shell.com
12.Sinclair Distributor Services         Accounts Payable           Fuel Supply                                                                             $470,740.97
   P.O. Box 30825                        Tel: 801-524-2700
   Salt Lake City, UT 84130              Fax: 801-524-2880
                                         Email:
                                         SLC.CustomerService@HFSi
                                         nclair.com
13.Federated Insurance                   Accounts Payable           Insurance                                                                               $439,873.80
   PO Box 486                            Tel: 507-455-5200;
   Owatonna, MN 55060                    800-533-0472
                                         Fax: 507-455-7808
14.JF Acquisition LLC                    Accounts Payable           Real Estate /                                                                           $398,889.19
   PO Box 531829                         Tel: (919) 838-7555        Equipment Lease
   Atlanta, GA 30353-1829




  Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims (on a consolidated basis)                      page 2
                           Case 23-90146 Document 1 Filed in TXSB on 03/18/23 Page 14 of 20
    Debtor        Star Mountain Express, LLC                                                  Case number (if known)
                  Name




   Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if claim   Amount of unsecured claim
   mailing address, including zip code     and email address of        (for example, trade    is contingent,      If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     unliquidated, or    claim amount. If claim is partially secured, fill in total
                                                                       professional           disputed            claim amount and deduction for value of collateral or
                                                                       services, and                              setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                                  Total claim, if    Deduction for        Unsecured claim
                                                                                                                  partially          value of
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
15.DAS Distributors TC                   M. Newburn                Retail Supplier                                                                          $343,818.19
   724 Lawn Road                         Tel: 402-320-9299
   Palmyra, PA 17078                     309-230-4139
                                         Fax: 800-842-1992
                                         Email:
                                         Mnewburn@dasinc.com
16.Imperial Trading Company              B. Schenk                 Retail Supplier                                                                          $340,499.97
   701 edwards ave.                      Tel: 504-909-4622
   Elmwood, LA 70123                     Email:
                                         bschenck@imperialtrading.
                                         com
17.ARG 1 CBHGNJ001, LLC et al            Accounts Payable          Real Estate /                                                                            $314,488.57
   PO Box 71532                          Tel: (212) 415-6500       Equipment Lease
   Cincinnati, OH 45271-5352
18.ENTERGY                               Accounts Payable             Utility                                                                               $280,596.54
   PO Box 8108                           Tel: 800-368-3749
   Baton Rouge, LA 70891
19.Anthem Blue Cross Blue Shield Ohio GA                              Insurance                                                                             $265,833.58
   P.O. Box 645438                 Tel: (800) 770-6226
   Cincinatti, OH 45264-5438       Fax: 866-587-3316
                                   Email:
                                   ohioga@anthem.com
20.Southern Eagle Sales & Service, Greg Naquin                        Food & Beverage                                                                       $243,725.32
   LP                              Tel: 504-235-5991
   5300 Blair Drive                Fax: 504-734-2550
   Metairie, LA 70003              Email:
                                   gregnaquin@southerneagl
                                   e.com
21.Hunt Refining Company           Accounts Payable                   Fuel Supply                                                                           $242,154.32
   P O Box 930865                  Tel: 205-391-3300
   Atlanta, GA 31193               Fax: 205-758-8371
                                   Email:
                                   info@huntrefining.com
22.Core-Mark AR                    Tonia Tubbs                        Retail Supplier                                                                       $231,655.51
   3400 Commerce Drive             Tel: 870-317-4197
   Forrest City, AR 72335          Fax: 570-823-3316
                                   Email: tonia.tubbs@core-
                                   mark.com
23.Chevron                         Accounts Payable                   Fuel Supply                                                                           $227,944.24
   6001 Bollinger Canyon Rd        Tel: 925-842-1000
   San Ramon, CA 94583



  Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims (on a consolidated basis)                      page 3
                           Case 23-90146 Document 1 Filed in TXSB on 03/18/23 Page 15 of 20
    Debtor        Star Mountain Express, LLC                                                  Case number (if known)
                  Name




   Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if claim   Amount of unsecured claim
   mailing address, including zip code     and email address of        (for example, trade    is contingent,      If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     unliquidated, or    claim amount. If claim is partially secured, fill in total
                                                                       professional           disputed            claim amount and deduction for value of collateral or
                                                                       services, and                              setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                                  Total claim, if    Deduction for        Unsecured claim
                                                                                                                  partially          value of
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
24.Southern Glazer's Wine and    Z. Bibbins               Food & Beverage                                                                                   $227,587.76
   Spirits-LA                    Tel: 504-274-4235
   939 W Pont Des Mouton Rd      Fax: 337-237-8081
   Lafayette, LA 70507-4007      Email: zbibbins@sgws.com
25.Golden Gallons, LLC           Accounts Payable         Fuel Transport                                                                                    $225,452.02
   2439 Manhattan Blvd., Ste 401 Tel: (504) 366-2413
   Harvey, LA 70037
26.Total Image Solutions, LLC   Jason Dawson              Marketing                                                                                         $209,763.45
   196 Theater Rd               Tel: 434-447-3347
   South Hill, VA 23970         Fax: 434-447-3266
                                Email:
                                vasignguy@hotmail.com
27.TBHC Deliveries, LLC         Chad Metcalf              Food & Beverage                                                                                   $203,015.32
   2967 Sidco Drive             Tel: 800-235-3798
   Nashville, TN 37204          Fax: 800-809-9241
                                Email:
                                chad.metcalf@luminafoods
                                .com
28.Frito-Lay                    Arnel Dujkovic1           Food & Beverage                                                                                   $185,942.61
   75 Remittance Drive Ste 1217 Tel: 228-342-0181
   Chicago, IL 60675-1217       Email:
                                arnel.dujkovic1@pepsico.c
                                o
29.CBE, Inc                     Alyison Whatley           IT                                                                                                $185,830.42
   PO Box 1944                  Tel: (334) 265-8903
   Montgomery, AL 36102         Email:
                                alyison.whatley@cbe-
                                inc.com
30.Andrews Distributing Company C. Mcpherson              Food & Beverage                                                                                   $180,567.42
   2730 Irving Boulevard        Tel: 214-525-9400
   Dallas, TX 75207             Fax: 214-905-0811
                                Email:
                                cmcpherson@andrewsdistr
                                ibuting.com
31.Crescent Crown Distributing Regina Terranova           Food & Beverage                                                                                   $163,585.34
   5900 Almonaster Ave          Tel: 985-960-6737
   New Orleans, LA 70126        Fax: 504-240-5539
                                Email:
                                regina.terranova@crestcro
                                wn.com
32.Aaron Palmer                 Aaron Palmer              Litigation      CUD                                                                                   Unknown
   Unknown


  Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims (on a consolidated basis)                      page 4
                           Case 23-90146 Document 1 Filed in TXSB on 03/18/23 Page 16 of 20
    Debtor        Star Mountain Express, LLC                                                   Case number (if known)
                  Name




   Name of creditor and complete            Name, telephone number,     Nature of the claim   Indicate if claim   Amount of unsecured claim
   mailing address, including zip code      and email address of       (for example, trade    is contingent,      If the claim is fully unsecured, fill in only unsecured
                                            creditor contact           debts, bank loans,     unliquidated, or    claim amount. If claim is partially secured, fill in total
                                                                       professional           disputed            claim amount and deduction for value of collateral or
                                                                       services, and                              setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                                  Total claim, if    Deduction for        Unsecured claim
                                                                                                                  partially          value of
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
33.Azhar M. Chaudhary, Esq.              Azhar M. Chaudhary        Litigation                 CUD                                                               Unknown
   440 Louisiana                         Tel: (281) 265-1010
   Suite 948                             Email:
   Houston, TX 77002                     attorney@chaudharyjd.co
                                         m
34.Law Offices of James Scott            Douglas E. Berger         Litigation                 CUD                                                               Unknown
   Farrin                                Tel: 800-220-7321
   Douglas E. Berger                     Fax: 800-716-7881
   555 South Mangum St.                  Email: dberger@farrin.com
   Ste 800
   Durham, NC 27701
35.Joseph V. Dirosa, Jr.           Joseph V. Dirosa, Jr.              Litigation              CUD                                                               Unknown
   329 North Woodlawn Avenue Tel: (504) 289-2739
   Metairie, LA 70001              Fax: 504-218-7035
                                   Email: jdirosa1@cox.net
36.AFN ABSPROP001 LLC              Jeff Tibbals                       Litigation              CUD                                                               Unknown
   c/o BYBEE & TIBBALS, LLC        Tel: 843-881-1623
   P.O. BOX 1542                   Fax: 800-716-7881
   735 Johnie Dodds Blvd           Email:
   Suite 104 (29464)               jst@bybeetibbals.com
   Mount Pleasant, SC 29465
37.AFN ABSPROP001 LLC              Tel: 662-232-8979                  Litigation              CUD                                                               Unknown
   c/o Daniel Coker Horton & Bell,
   P.A.
   Post Office Box 1396
   Oxford, MS 38655
38.AFN ABSPROP001 LLC              Theordore Blum, Ernest             Litigation              CUD                                                               Unknown
   c/o GREENBERG TRAURIG, LLP LaMont Greer
   3333 Piedmont Road NE           Tel: 678-553-2100
   Suite 2500                      Fax: 678-553-2212
   Atlanta, GA 30305               Email: blumt@gtlaw.com;
                                   greere@gtlaw.com
39.Freeway Stores OK LLC c/o       Kathy Neal                         Litigation              CUD                                                               Unknown
   McAfee & Taft                   Tel: 918-574-3020
   211 N. Robinson                 Fax: 405-235-0439
   Eighth Floor                    Email:
   Two Leadership Square           kathy.neal@mcafeetaft.co
   Oklahoma, OK 73102              m
40.AFN ABSPROP001 LLC              Tel: 501-688-8800                  Litigation              CUD                                                               Unknown
   c/o Mitchell, Williams, Selig, Fax: 501-688-8807
   Gates & Woodyard, P.L.L.C
   425 W Capitol Ave #1800
   Little Rock, AR 72201


  Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 40 Largest Unsecured Claims (on a consolidated basis)                      page 5
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re:                                             Chapter 11

 Star Mountain Express, LLC,                        Case No. 23-_____ (___)

                               Debtor.

                 CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


                Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the undersigned authorized officer of the above-
captioned Debtor, certifies that the following is a corporation other than the Debtor, or a
governmental unit, that directly or indirectly owns 10% or more of any class of the corporation’s
equity interests, or states that there are no entities to report under FRBP 7007.1.


            Name:          Mountain Express Oil Company
            Address:       3650 Mansell Road
                           Suite 250
                           Alpharetta, GA 30022
          Case 23-90146 Document 1 Filed in TXSB on 03/18/23 Page 18 of 20




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 In re:                                              Chapter 11

 Star Mountain Express, LLC,                         Case No. 23-_____ (___)

                               Debtor.

                            LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:



              Equity Holder                     Address of Equity Holder               Percentage of
                                                                                       Equity Held
                                            3650 Mansell Road
                                                                                   100% Membership
 Mountain Express Oil Company               Suite 250
                                                                                   Interest
                                            Alpharetta, GA 30022
             Case 23-90146 Document 1 Filed in TXSB on 03/18/23 Page 19 of 20




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                                     Chapter 11

    Star Mountain Express, LLC,                                Case No. 23-_____ (___)

                                     Debtor.

                             CERTIFICATION OF CREDITOR MATRIX


         Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the
United States Bankruptcy Court for the District of Delaware, the above captioned debtor and its
affiliated debtors in possession (collectively, the “Debtors”)1 hereby certify that the Creditor
Matrix submitted herewith contains the names and addresses of the Debtors’ creditors. To the best
of the Debtors’ knowledge, the Creditor Matrix is complete, correct, and consistent with the
Debtors’ books and records.

         The information contained herein is based upon a review of the Debtors’ books and records
as of the petition date. However, no comprehensive legal and/or factual investigations with regard
to possible defenses to any claims set forth in the Creditor Matrix have been completed. Therefore,
the listing does not, and should not, be deemed to constitute: (1) a waiver of any defense to any
listed claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver
of any other right or legal position of the Debtors.




1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of the Debtor Mountain
    Express Oil Company’s principal place of business and the Debtors’ service address in these chapter 11 cases is
    3650 Mansell Road, Suite 250, Alpharetta, GA 30022.


DOCS_LA:347788.1 58614/001
                         Case 23-90146 Document 1 Filed in TXSB on 03/18/23 Page 20 of 20




 Fill in this information to identify the case:

 Debtor name         Star Mountain Express, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration               Corporate Ownership Statement, List of Equity Holders, Creditor Matrix
                                                                           Certification

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 18, 2023                          X /s/ Michael Healy
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael Healy
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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